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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


UNITED STATES OF AMERICA,
                                            Criminal Action No.
                                            1:13-CR-0025-SCJ

LARRYWEBMAN,
RANDYVVEBMAN,
DARAWEBMAN,
GEORGEWILLIAMS,

      Defendants,

                                    ORDER
      This matter is before the Court for consideration of the Report and
Recommendation of the Honorable Janet F. King, united states Magistrate [Doc. No.

113], to which no objections have been filed. After reviewing the Report and

Recommendation, it is received with approval and ADoprED as the opinion and

order of this Court.

      Accordingly, Defendant Larry and Randy Webman's motions to dismiss and

to strike surplusage [Doc. Nos. 91, 98] are hereby DENIED. Defendant williams'

motion for severance [Doc. No. 89] is hereby DENIED.

      IT IS SO ORDERED *ris t/ll


                              HONORABLE STE            .JONES
                              UNITED STATES DI
